              Case 2:17-cv-00550-DN Document 89 Filed 03/15/19 Page 1 of 7




                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


    CRIMINAL PRODUCTIONS, INC.,
                                                           NOTICE OF PROPOSED ORDER
                              Plaintiff,                   AND NOTICE OF HEARING

    v.
                                                           Case No. 2:17-cv-00550
    DOES 1-32,
                                                           District Judge David Nuffer
                              Defendants.


           Plaintiff has filed briefs 1 in response to the Order to Show Cause Requiring Responsive

Briefing. 2 Attached is a Proposed Order re: Order to Show Cause Requiring Responsive Briefing

which is intended to be entered. Plaintiff may provide input on the Proposed Order and argument

by filing a brief before noon on Friday, March 22, 2019, and at a status conference set for

Monday March 25, 2019, at 9:00 a.m., in Courtroom 7.300.

           Signed March 15, 2019.

                                                    BY THE COURT


                                                    ________________________________________
                                                    David Nuffer
                                                    United States District Judge




1
  Response to Order to Show Cause: Status Brief as to Each Defendant, docket no. 83, filed Jan. 17, 2019; Response
to Order to Show Cause: Brief 2 Re Contributory Infringement Standard, docket no. 87, filed Feb. 4, 2019;
Response to Order to Show Cause: Brief 3 Re State of Case Law re contributory Infringement, docket no. 88, filed
Feb. 4, 2019.
2
    Docket no. 82, filed Dec. 20, 2018.
            Case 2:17-cv-00550-DN Document 89 Filed 03/15/19 Page 2 of 7




                           IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF UTAH


    ,                                                [PROPOSED] ORDER RE: ORDER TO
                                                     SHOW CAUSE REQUIRING
                          Plaintiff,                 RESPONSIVE BRIEFING

    v.
                                                     Case No.
    ,
                                                     District Judge David Nuffer
                          Defendants.


         The Order to Show Cause Requiring Responsive Briefing (“OSC”) 3 directed Plaintiff to

file briefs responding to inquiries regarding (1) the status of this case; (2) whether Plaintiff’s

Complaint for Copyright Infringement (“Complaint”) 4 sufficiently states plausible claims for

relief; and (3) the current state of the law in BitTorrent protocol copyright infringement cases.

Plaintiff timely filed briefs. 5

         Plaintiff’s brief regarding the case status 6 provides the information requested in the OSC.

But Plaintiff’s briefs regarding the sufficiency of the Complaint’s allegations 7 and the current

state of the law 8 are unfortunately not helpful in answering the OSC’s inquiries. These briefs

primarily rely on factually distinguishable case law involving defendants that are owners and




3

4

5

6

7

8




                                                                                                     2
              Case 2:17-cv-00550-DN Document 89 Filed 03/15/19 Page 3 of 7



creators of websites that promote and use peer-to-peer file sharing; 9 internet service providers; 10

or sponsors and promoters of local community concert associations. 11 The conduct of an

individual subscriber of an IP address is a step removed from the conduct of an individual or

entity that creates and promotes a platform for infringement. 12 Plaintiff’s briefs also do not

acknowledge and cite legal authorities that are contrary to Plaintiff’s position. 13 While no

controlling contrary authority exists, 14 the nature of the OSC should have suggested a more

thorough survey of the law was appropriate.

           Nevertheless, the OSC 15 is satisfied. Under Tenth Circuit Court of Appeals precedent,

           a plaintiff can indirectly prove copying (in a factual sense) by establishing that a
           defendant had access to the copyrighted work and that there are probative
           similarities between the copyrighted material and the allegedly copied material. A
           plaintiff may meet the initial burden of establishing access by showing that the
           defendant had a reasonable opportunity to view or [an] opportunity to copy the
           allegedly infringed work. Thus, while a plaintiff is not required to demonstrate the
           defendant’s actual access to the work, evidence that only creates a bare possibility
           that the defendant had access is not sufficient. 16

9
 Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 545 U.S. 913 (2005); Columbia Pictures Indus., Inc. v.
Fung, 710 F.3d 1020 (9th Cir. 2013); In re Aimster Copyright Litig., 334 F.3d 643 (7th Cir. 2003); A&M Records,
Inc. v. Napster, Inc., 239 F.3d 1004 (9th Cir. 2001); Arista Records, LLC v. Usenet.com, Inc., 633 F.Supp.2d 124
(S.D. N.Y. 2009).
10
     BMG Rights Mgmt. (US), LLC v. Cox Comm’ns, Inc., 881 F.3d 293 (4th Cir. 2018).
11
     Gershwin Pub. Corp. v. Columbia Artists Mgmt., Inc., 443 F.2d 1159 (2d Cir. 1971).
12
  Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142, 1148 (9th Cir. 2018) (recognizing that internet service
subscriber “does not fit cleanly within [the] typical contributory liability framework, which often involves
consumer-facing internet platforms.”); UMG Recordings, Inc. v. Grande Comm’ns Networks, LLC, 2018 WL
6624205, *6 (W.D. Tex. Dec. 18, 2018) (distinguishing the activities of an Internet Service Provider from an
individual IP address’s subscriber).
13
  Malibu Media, LLC v. Doe, 2018 WL 6446404 (N.D. Ill. Dec. 10, 2018); PTG Nevada, LLC v. Chan, 2017 WL
168188 (N.D. Ill. Jan. 17, 2017); Elf-Man, LLC v. Cariveau, 2014 WL 202096 (W.D. Wash. Jan. 17, 2014); AF
Holdings, LLC v. Rogers, 2013 WL 358292 (S.D. Cal. Jan. 29, 2013); AF Holdings, LLC v. Doe, 2013 WL 97755
(N.D. Cal. Jan. 7, 2013).
14
  Utah R. Prof’l Conduct 3.3(a)(2) (“A lawyer shall not knowingly or recklessly . . . fail to disclose to the tribunal
legal authority in the controlling jurisdiction directly adverse to the position of the client and not disclosed by
opposing counsel.”).
15

16
   La Resolana Architects, PA v. Reno, Inc., 555 F.3d 1171, 1178 (10th Cir. 2009) (internal quotations and citations
omitted; emphasis added).



                                                                                                                         3
            Case 2:17-cv-00550-DN Document 89 Filed 03/15/19 Page 4 of 7



         Plaintiff alleges that an unauthorized copy of Plaintiff’s copyrighted work was made via

use of a BitTorrent protocol at certain IP addresses. 17 It is reasonable to infer that the subscriber

of the IP addresses had a reasonable opportunity to access the internet at the IP addresses and

copy the copyrighted work using the BitTorrent protocol. Therefore, the Complaint contains

sufficient allegations to state a plausible claim for direct infringement against the IP addresses’

subscribers. 18 It also follows that because Plaintiff alleges that the infringer acted as part of a

BitTorrent “swarm,” 19 the Complaint contains sufficient allegations to state a plausible claim for

contributory infringement against the IP addresses’ subscribers. 20

         However, despite sufficiently stating plausible claims for relief, Plaintiff’s Complaint has

not been amended to name an IP address’s subscriber as a defendant. Plaintiff represented that it

would amend the Complaint to identify the “true name and location” of each defendant upon

obtaining such information in discovery. 21 But this has not occurred. The defendants remain Doe

Defendants known only by their IP addresses. 22

         It is appropriate, procedurally proper, consistent with Plaintiff’s representation, and a

prerequisite to entry of default judgment to require Plaintiff to file an amended complaint which


17

18
  Dallas Buyers Club, LLC v. Hudson, 2016 WL 320918, *6 (D. Colo. Jan. 5, 2016); Malibu Media, LLC v. Butler,
2014 WL 3272500, *7 (D. Colo. July 8, 2014); Purzel Video GMBH v. Smoak, 70 F.Supp.3d 1222, 1232 (D. Colo.
2014).
19

20
   Smoak, 70 F.Supp.3d at 1233. However, the Complaint does not state a plausible claim of contributory
infringement based on the subscribers’ alleged failure to police the use of their internet service. “[This] theory both
strays from precedent and effectively creates an affirmative duty for private internet subscribers to actively monitor
their internet service for infringement. Imposing such a duty would put at risk any purchaser of internet service who
shares access with a family member or roommate, or who is not technologically savvy enough to secure the
connection to block access by a frugal neighbor. This situation hardly seems to be one of the circumstances in which
it is just to hold one individual accountable for the actions of another.” Cobbler 901 F.3d at 1149 (internal
quotations omitted).
21

22




                                                                                                                      4
               Case 2:17-cv-00550-DN Document 89 Filed 03/15/19 Page 5 of 7



names the IP addresses’ subscribers as defendants. 23 Additionally, because the IP addresses’

subscribers were never properly named as defendants, good cause exists to set aside the entry of

their default. 24 And any pending motion for entry of default or default judgment relating to an IP

address’s subscriber is moot because the Complaint does not name the subscriber as a defendant.

           Finally, there exists a real risk that merely alleging that an IP address’s subscriber is the

direct or contributory infringer will lead to “false positives.” 25 “Home wireless networks are

ubiquitous, meaning that a single IP address can simultaneously support multiple computer

devices throughout the home and, if not secured, additional devices operated by neighbors or

passersby.” 26 “While it is possible that the subscriber is the one who participated in the

BitTorrent swarm, it is also possible that a family member, guest, or [unknown third-party]

freeloader engaged in the infringing conduct.” 27 And an innocent subscriber might default by not

responding to a complaint if the subscriber believes it to be baseless or if the complaint does not

expressly name the subscriber as a defendant, or the subscriber might feel pressured into

settlement to avoid the embarrassment of having their name publicly associated with allegations

of illegal downloading. 28 Therefore, to avoid the risk of false positives, either Plaintiff’s

amended complaint, or any future motion for default judgment against an IP address’s




23
  Garrett v. Fleming, 362 F.3d 692, 697 (10th Cir. 2004) (“[The] substitution of named defendants for the original
unknown ‘John Doe’ defendants amount[s] to adding a new party.”).
24
  FED. R. CIV. P. 55(c). While it is arguable that setting aside any default judgment or consent judgment entered
against a subscriber is also appropriate under FED. R. CIV. P. 60(b), this Order does not apply to subscribers for
whom judgments have already entered.
25
   Malibu Media, LLC, 2018 WL 6446404, at *3; Chan, 2017 WL 168188, at *2; Cariveau, 2014 WL 202096, at *1;
Rogers, 2013 WL 358292, at *3.
26
     Cariveau, 2014 WL 202096, at *1.
27
     Id. at *2; see also Malibu Media, LLC, 2018 WL 6446404, at *3.
28
     Digital Sin, Inc. v. Does 1-176, 279 F.R.D. 239, 242 (S.D. N.Y. 2012).



                                                                                                                     5
            Case 2:17-cv-00550-DN Document 89 Filed 03/15/19 Page 6 of 7



subscriber, must include the following information, if available, to enable a better evaluation of

Plaintiff’s entitlement to judgment:

       •    the nature of the facility using the IP address (apartment, single-family house,
            business, etc.), the physical address, and the mailing address used by the internet
            service provider for the subscriber;
       •    whether the IP address is associated with a wireless router, and whether any network
            that the router broadcasts is secured or unsecured;
       •    whether individuals other than the subscriber have access to use the IP address;
       •    the subscriber’s age;
       •    the subscriber’s knowledge, encouragement, or inducement of third-party use of the
            IP address for infringement; and
       •    whether payment or partial payment for internet service through the IP address has
            been made by someone other than the subscriber.

                                             ORDER

       IT IS HEREBY ORDERED that:

       1)      The OSC 29 is SATISFIED.

       2)      The Entry of Default Pursuant to FRCP 55(a) as to Certain Defendants 30 against

Doe Defendants is SET ASIDE.

       3)      Plaintiff’s Motion for Entry of Default Pursuant to FRCP 55(a) as to Certain

Defendants and Motion to Terminate All discovery Proceedings 31 is MOOT.

       4)      Plaintiff’s Motion for Default Judgment, Permanent Injunction and Attorney’s

Fees as to Certain Defendants 32 is MOOT.




29

30

31

32




                                                                                                     6
            Case 2:17-cv-00550-DN Document 89 Filed 03/15/19 Page 7 of 7



       5)      Plaintiff must file an amended complaint, with cover sheet, which identifies the

true name and location of each Doe Defendant for which a judgment or dismissal has not already

entered.

       6)      Plaintiff must serve a copy of the amended complaint on each identified defendant

in accordance with FED. R. CIV. P. 5(b).

       7)      Either Plaintiff’s amended complaint, or any future motion for default judgment

against a defendant, must include the following information, if available:

               •   the facility using the IP address (apartment, single-family house, business,
                   etc.), the physical address, and the mailing address used by the internet service
                   provider for the subscriber;
               •   whether the IP address is associated with a wireless router, and whether any
                   network that the router broadcasts is secured or unsecured;
               •   whether individuals other than the subscriber have access to use the IP
                   address;
               •   the subscriber’s age;
               •   the subscriber’s knowledge, encouragement, or inducement of third-party use
                   of the IP address for infringement; and
               •   whether payment or partial payment for internet service through the IP
                   address has been made by someone other than the subscriber.

       Signed ___________.

                                              BY THE COURT


                                              ________________________________________
                                              David Nuffer
                                              United States District Judge




                                                                                                   7
